                                                                                                       Reset Form            Print Form
          Case 3:17-cv-00461-REP-RCY Document 178 Filed 09/06/18 Page 1 of 2 PageID# 4421
                                       IN THE UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF VIRGINIA

     APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                       CRIMINAL RULE 57.4
                  In Case Number _______________,
                                  3:17-cv-00461-REP                      Williams et al v. Big Picture Loans, LLC
                                                       Case Name ______________________________
                                                   Plaintiffs Lula Williams, et al.
                  Party Represented by Applicant: ___________________________________________

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                     PERSONAL STATEMENT

                                    Elizabeth Anne Adams
FULL NAME (no initials, please) ____________________________________________________________________________
Bar Identification Number ________________
                            49175                 State ________________
                                                         Washington
Firm Name TERRELL     MARSHALL LAW GROUP PLLC
            ______________________________________________________________________________________________
                (206) 816-6603
Firm Phone # ________________________          Direct Dial # __________________________ FAX # ________________________
                                                                                               (206) 319-5450
E-Mail Address eadams@terrellmarshall.com
                  __________________________________________________________________________________________
Office Mailing Address ____________________________________________________________________________________
                          936 North 34th Street, Suite 300, Seattle, Washington 98103-6689

                                                          See Attached
Name(s) of federal court(s) in which I have been admitted _________________________________________________________

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am ____ am not ____ a full-time employee of the United States of America, and if so, request exemption from the admission fee.
                                                                               _______________________________________
                                                                                     (Applicant’s Signature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

                                                   __________________________________________                     9/6/18
                                                                                                               _____________
                                                   (Signature)                                                  (Date)
                                                   Leonard  A. Bennett
                                                   __________________________________________                  37523
                                                                                                                _____________
                                                            (Typed or Printed Name)                             (VA Bar Number)
Court Use Only:

Clerk’s Fee Paid ________ or Exemption Granted ________

The motion for admission is GRANTED ________ or DENIED ________



                         ________________________________________                            __________________________
                         (Judge’s Signature)                                                 (Date)
Case 3:17-cv-00461-REP-RCY Document 178 Filed 09/06/18 Page 2 of 2 PageID# 4422



                             UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

                          Williams et al v. Big Picture Loans, LLC et al.

                               Case No. 3:17-cv-00461-REP-RCY

           Attachment to Elizabeth Anne Adams Application for Admission Pro Hac Vice

                                   Federal Court Admissions

                                  COURT                              DATE OF
                                                                    ADMISSION

             USDC Western District of Washington                     07/30/2015

             USDC Eastern District of Washington                     01/26/2018

             USDC Northern District of California                    04/12/2017
